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                    V.




                           First Name & Middle

                                   Fax Number

                                                                                                   Name & Address




                                                                                                     Other:




                                                                  Number

                                                                                                   Name & Address




                   for failure to pay the            fee.
                   for failure to attach    Certificate     Good ::StaLnctmg issued within 30          to




                   pursuant to L.R. 83-2.1.3.4; Local Counsel:           is not member of Bar of this Court;   does not maintain office
                   District.
                   because




G-640rder(05/16)                                   OF NON-RESIDENT                                                                    of l
    Case 8:19-cv-02435-DOC-JDE Document 10-1 Filed 12/24/19 Page 2 of 2 Page ID #:39




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